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                                      UNITED STATES DISTRICT COURT
                                           DISTRICT OF MAINE

FRANK INMAN,                                               )
                                                           )
                     Plaintiff                             )
                                                           )
           v.                                              )        2:15-cv-00081-JAW
                                                           )
PAUL CUMMING, et al.,                                      )
                                                           )
                     Defendants                            )

                                          RECOMMENDED DECISION
                                            ON MOTION FOR BAIL

           In March 2015, Plaintiff Frank Inman filed a Complaint in which he named Paul Cumming

Sargent and John Doe Correctional Officer as Defendants. On March 4, 2015, the Court granted

Plaintiff’s Motion to Proceed In Forma Pauperis. Diane Sleek, Assistant Attorney General,

accepted service of the Complaint on behalf of Defendant Paul Cumming, and on May 18, 2015,

filed a Motion to Dismiss. Plaintiff’s response to the motion is due on or before June 8, 2015.

           The matter is before the Court on Plaintiff’s Motion for Bail (ECF No. 7).1 Plaintiff asserts

(1) that he is being transferred to the Maine State Prison in retaliation for filing his civil actions

and his petition for writ of habeas corpus; (2) that assignment to the Maine State Prison “will only

put [his] life at risk”; (3) that inmates mistreat him for his testimony at another trial; and (4) that

he has not been properly treated for his mental health. (Id. at 1.) In his additional letter to the

Court, Plaintiff contends he is a victim of discrimination due to his mental health and Huntington’s

disease. (ECF No. 8 at 1.)

           As explained below, following a review of the pleadings, the recommendation is that the

Court deny Plaintiff’s request for bail.


1
    Plaintiff also filed an additional letter in support of his motion for bail (ECF Nos. 8).
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                                                      DISCUSSION

         Given that a plaintiff-inmate does not have a constitutional right to be released from jail

even to attend the civil trial, Jones v. Hamelman, 869 F.2d 1023, 1029 – 30 (7th Cir. 1989);

Muhammad v. Warden, Baltimore City Jail, 849 F.2d 107, 111 – 12 (4th Cir. 1988), Plaintiff

arguably is not entitled to be bailed in a civil case for reasons other than to attend trial (e.g., for

medical reasons as Plaintiff requests). Nevertheless, if one assumes that bail is available under

certain circumstances, because Plaintiff is an inmate in state custody following a conviction, the

most analogous authority through which to analyze Plaintiff’s request for bail is the law of habeas

corpus.2 In a habeas petitioner’s unopposed motion for bail pending the disposition of his petition

for certiorari, Justice Rehnquist concluded, “it is no part of the function of the federal courts to

allow bail in federal habeas review of state proceedings” in the absence of “extraordinary

circumstances,” even when the State did not oppose bail. McGee v. Alaska, 463 U.S. 1339, 1340

(1983) (Rehnquist, J.); see also Aronson v. May, 85 S. Ct. 3, 5 (1964) (Douglas, J.) (concluding

that a petitioner seeking bail pending review of a collateral proceeding must demonstrate a

substantial question and exceptional circumstances).

         The First Circuit has also noted: “While the federal power remains, we regard a petitioner

who has had a full trial and appeal as in a very different posture than if there had been no prior

judicial determination of his rights. Nowhere is this more significant than with regard to bail.”



2
  Whether a plaintiff in a general civil case is ever entitled to bail, other than as is necessary to attend and participate
in the trial, is not entirely clear. Supreme Court precedent, however, suggests that a federal court is not authorized to
award bail to a state prisoner in connection with non-habeas civil litigation. Cf. Wilkinson v. Dotson, 544 U.S. 74, 81
(2005) (“Throughout the legal journey from Preiser [v. Rodriguez, 93 S. Ct. 1827 (1973)] to [Edwards v.] Balisok,
[117 S. Ct. 1584 (1997),] the Court has focused on the need to ensure that state prisoners use only habeas corpus (or
similar state) remedies when they seek to invalidate the duration of their confinement—either directly through an
injunction compelling speedier release or indirectly through a judicial determination that necessarily implies the
unlawfulness of the State’s custody.”). In any event, if Plaintiff cannot establish that he would be entitled to bail under
the habeas standard, one could reasonably conclude that Plaintiff would not be entitled to bail in his civil case. Indeed,
even if he prevailed in his civil case, Plaintiff would not be released from jail.

                                                             2
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Glynn v. Donnelly, 470 F.2d 95, 97 (1st Cir. 1972). In Glynn, the First Circuit held that after a

defendant has been convicted and the conviction upheld, there is no presumption favoring bail, but

rather

         the state acquires a substantial interest in executing its judgment. Quite apart from
         principles of comity, this combination of factors dictates a formidable barrier for
         those who seek interim release while they pursue their collateral remedies. . . . Both
         in the district court, and on appeal, in the absence of exceptional circumstances –
         whatever that may include – the court will not grant bail prior to the ultimate final
         decision unless petitioner presents not merely a clear case on the law, but a clear,
         and readily evident, case on the facts.

Id. at 98 (citations omitted). “Release should be granted to an offender pending collateral review

only when the petitioner has raised substantial constitutional claims upon which he has a high

probability of success, and also when extraordinary or exceptional circumstances exist which make

the grant of bail necessary to make the habeas remedy effective.” United States v. Vogel, 595 F.

App’x 416, 416-17 (5th Cir. 2015) (quotation marks omitted). “This much is clear: federal courts

very rarely find ‘exceptional circumstances’ and very rarely release petitioners before ruling on

the merits of their claims. Indeed, there seem to be but a handful of decisions in which federal

courts have released petitioners pending review of their claims.” Blocksom v. Klee, 2015 WL

300261, at *4 & n.2, 2015 U.S. Dist. Lexis 6974, *12 (E.D. Mich. Jan. 22, 2015) (citing Puertas

v. Overton, 272 F. Supp. 2d 621 (E.D. Mich. 2003) (holding that the petitioner’s grave medical

condition, combined with his showing of a substantial claim of law, justified the grant of the

petitioner’s motion for a bond pending review of his petition)).

         Here, while Plaintiff has identified certain medical concerns that he believes justify bail,

he has failed to assert facts that constitute “exceptional circumstances.” In fact, although Plaintiff

alleges that he has experienced “shaking, muscle spasms, chest pain, difficulty breathing and

trouble walking or standing” (Complaint, ECF No. 1 at 3), Plaintiff has not filed any evidence or



                                                   3
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records to confirm or corroborate his condition, the treatment that is required, or why his condition

requires his release. Plaintiff also has failed to submit evidence to support his safety concern. In

short, Plaintiff has failed to demonstrate the necessary “exceptional circumstances” to justify bail

even if the Court assesses Plaintiff’s request under the bail standard in a habeas corpus action.3

                                                    CONCLUSION

         Based on the foregoing analysis, the recommendation is that the Court deny Plaintiff’s

Motion for Bail (ECF No. 7).



                                                      NOTICE

                 A party may file objections to those specified portions of a magistrate
         judge's report or proposed findings or recommended decisions entered pursuant to
         28 U.S.C. Section 636(b)(1)(B) for which de novo review by the district court is
         sought, together with a supporting memorandum, within fourteen (14) days of
         being served with a copy thereof. A responsive memorandum shall be filed within
         fourteen (14) days after the filing of the objection.

                Failure to file a timely objection shall constitute a waiver of the right to de
         novo review by the district court and to appeal the district court's order.

                                                        /s/ John C. Nivison
                                                        U.S. Magistrate Judge
         Dated this 2nd day of June, 2015.




3
 Although an inmate may be permitted to attend a civil trial, or a portion thereof, pursuant to a writ of habeas corpus
ad testificandum, 28 U.S.C. § 2241(c)(5), at this time it is uncertain whether there will be a trial on Plaintiff’s claims
or any other reasons to obtain his testimony in open court. If the Court adopts this recommendation, therefore, the
Court’s order would not interfere with Plaintiff’s ability to attend and participate in the trial.

                                                            4
